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 7
 8                                 UNITED STATES DISTRICT COURT
 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
11   DEMAS YAN,                          )                 CASE NO. 3:11-cv-01814-RS
                                         )
12               Appellant,              )
                                         )                 APPLICATION FOR ORDER FOR
13   vs.                                 )                 APPEARANCE AND EXAMINATION
                                         )
14   TONY FU, CRYSTAL LEI, WEI SUEN, )
     BRYANT FU, and STELLA HONG )
15   CHEN,                               )
                                         )
16               Appellees.              )
     ___________________________________ )
17
18           Appellee/judgment creditor Crystal Lei (“Lei”) hereby applies for an order for examination
19   of appellant/judgment debtor Demas Yan (“Yan”) to enforce the judgment/attorneys’ fees order
20   entered in favor of Lei against Yan on April 24, 2014 in the amount of $35,004.71. A true and
21   correct copy of the abstract of judgment issued by the Court on March 11, 2016 in this matter is
22   attached hereto as Exhibit A. Attached hereto as Exhibit B is a proposed order for examination of
23   Yan. Lei wishes to perform the examination during the last week of June, 2017 and requests the
24   Court set the examination for a date in late June, 2017.
25   DATED: May 5, 2017                                      SERLIN & WHITEFORD, LLP
26
27                                                   By:         /s/ Mark A. Serlin
                                                             MARK A. SERLIN, Attorneys for Appellees
28                                                           CRYSTAL LEI and BRYANT FU
     ____________________________________________________________________________________________________
     APPLICATION FOR ORDER FOR                    1                                          Yan v. Fu, et al.
     APPEARANCE AND EXAMINATION                                                  Case No. 3:11-cv-01814-RS
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